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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

IN RE SUBARU BATTERY DRAIN No. 1:20-CV-03095-JHR-MJS
PROD. LIAB. LITIG.
HON. JOSEPH H. RODRIGUEZ

 

 

ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOTION FOR
ATTORNEYS’ FEES, EXPENSES, AND SERVICE AWARDS

WHEREAS, Plaintiffs and Defendant Subaru of America, Inc. and Subaru
Corporation (together, “Subaru”) executed an agreement to settle this matter, subject
to Court approval;

WHEREAS, the Court reviewed the parties’ Settlement Agreement and
issued an order granting preliminary approval to it on June 23, 2022 (ECF No. 75);

WHEREAS, through arms’-length negotiations, including several mediation
sessions with the Hon. Joel Schneider, U.S.M.J. (Ret.), Defendants have agreed to
pay (1) $4,100,000.00 in attorneys’ fees and expenses to Class Counsel, and (2)
$4,000.00 in service awards to each of the thirteen Plaintiffs ($52,000.00 total);

WHEREAS, after considering Plaintiffs’ motion, memorandum of law and
supporting materials (including the declarations from counsel) as well as any

material(s) that may be filed in opposition thereto, the Court having concluded that
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Plaintiffs’ request for fees, expenses, and the payment of service awards is
reasonable and permissible under the applicable law;
IT IS ORDERED AS FOLLOWS:

1. The Court finds the attorney fees and costs requested by Class Counsel
are fair and reasonable, given Plaintiffs’ counsel’s lodestar of $2,923,825.00 at the
time of filing their motion. The Court has reviewed the Joint Declaration submitted
by Class Counsel and finds that Plaintiffs’ counsel reasonably spent over 4,474 hours
representing the interests of the Class through this litigation, that Plaintiffs’ counsel
hourly rates are reasonable and in line with the prevailing rates in the community for
complex class action litigation, and that the costs incurred to prosecute the litigation
were reasonable.

2. Plaintiffs’ counsel also submitted—and the Court considered—their
detailed billing records, which further demonstrate that the time incurred by
Plaintiffs’ counsel was reasonable and necessary to the successful resolution of this
complex class action litigation.

3. The Court finds that the factors enumerated in Gunter v. Ridgewood
Energy Corp., 223 F.3d 190 (3d Cir. 2000) support Class Counsel’s request.

Specifically:
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a. The size of the fund and number of persons benefitted supports Class
Counsel’s fee request, as the settlement provides substantial relief to
owners and lessees of 2,846,483 Settlement Class Vehicles.

b. The absence of objections by Settlement Class Members supports Class
Counsel’s fee request, as only a small percentage of objections to the
settlement have been received.

c. The skill and efficiency of the attorneys involved supports Class
Counsel’s fee request, as the settlement provides substantial benefits to
the Settlement Class Members in the face of significant risk of further
litigation.

d. The complexity and duration of the litigation supports Class Counsel’s
fee request, as this complex class action litigation has been pending for
over a year and has required extensive work by Class Counsel to reach
a successful conclusion.

e. The risk of nonpayment supports Class Counsel’s fee request, as Class
Counsel brought this litigation on a contingency basis and risked non-
payment as a result.

f. The amount of time devoted by Plaintiffs’ counsel supports Class
Counsel’s fee request, as over 4,474 hours of contingent work was

performed in this matter as of September 30, 2022. This work included
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discovery, settlement negotiations, class member _ interviews,
mediation, the 30(b)(6) deposition of Subaru’s Director of Field
Quality, and Class Counsel’s own independent investigation into the
alleged defect.

g. The fee awards in similar cases supports the fee request, as the fee
request in this case is on the low end of similar automotive class action
settlements in the District of New Jersey. Further, the lodestar
multiplier of 1.38 is on the low end of multipliers awarded in the
District of New Jersey.

4, In light of the foregoing, and upon the Court’s consideration of the
briefing and declarations submitted, Plaintiffs’ Motion for Attorneys’ Fees,
Expenses, and Service Awards is GRANTED.

5. Defendants Subaru of America, Inc. and Subaru Corporation shall pay

Class Counsel $ 4 10,000. 0° for their attorneys’ fees and expenses, in
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accordance with the Settlement Agreement.

6. Defendants Subaru of America, Inc. and Subaru Corporation shall also

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make an additional payment totaling $ 4 ad 00 0° to Class Counsel for

 

the service awards of the thirteen Plaintiffs, which amounts shali then be remitted

by Class Counsel to the Plaintiffs.
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7. All other payments and costs shall be borne as set forth in the

Settlement Agreement or as agreed to by the parties.

IT IS SO ORDERED.

Dated: 24, 2623 i so

n. Joseph H. Rodrigye
ited States District
